 1   KASSRA P. NASSIRI (215405)
     (knassiri@njfirm.com)
 2   NASSIRI & JUNG LLP
     1700 Montgomery St, Suite 207
 3   San Francisco, California 94111
     Telephone: (415) 762-3100
 4   Facsimile: (415) 534-3200
 5    MICHAEL ASCHENBRENER (277114)
      (masch@kamberlaw.com)
 6    KAMBERLAW, LLC
      201 Milwaukee St, Suite 200
 7    Denver, Colorado 80206
      Telephone: (303) 222-0281
 8
     Attorneys for Plaintiffs and the Class
 9
10                               UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
12                                            SAN JOSE DIVISION
13
14                                                           Case No. 5:10-CV-4809-EJD
      In re GOOGLE REFERRER HEADER PRIVACY
15    LITIGATION                                             CLASS ACTION

16                                                           PLAINTIFFS’ NOTICE OF
      _______________________________________                MOTION AND MOTION FOR
17                                                           FINAL APPROVAL OF CLASS
      This Document Relates To: All Actions                  ACTION SETTLEMENT
18
                                                             Date: October 12, 2023
19                                                           Time: 9:00 a.m.
                                                             Place: Courtroom 4, 5th Floor
20                                                           Judge: Hon. Edward J. Davila

21
22
23
24
25
26
27
28

     FINAL APPROVAL BRIEF                                                           5:10-CV-4809-EJD
 1                                        NOTICE OF MOTION

 2          NOTICE IS HEREBY GIVEN that the Plaintiffs will move the Court, pursuant to Federal

 3 Rule of Civil Procedure 23(e), to grant final approval of the proposed class action settlement

 4 entered into by the Parties on October 12, 2023 at 9:00 a.m., or at such other time as set by the
 5 Court, at 280 South 1st Street, Courtroom 4, 5th Floor in San Jose, California, before the
 6 Honorable Judge Davila.
 7          Plaintiffs seek an order granting final approval of the proposed class action Settlement.

 8 The Motion is based on this Notice of Motion, the Brief in Support of the Motion attached hereto

 9 and the authorities cited therein, oral argument of counsel, and any other matter raised or
10 submitted at the hearing, and all of the documents in the record.
11
12          Dated: August 24, 2023

13
14                           STATEMENT OF ISSUES TO BE DECIDED

15
        1. Whether the Court should grant final certification of the Settlement Class under Rules
16
            23(a) and 23(b)(3);
17
        2. Whether the Court should grant final approval of the Settlement as fair, reasonable, and
18
            adequate based on the requirements of Rule 23 and due process, the Northern District of
19
            California’s Procedural Guidance for Class Action Settlements (“Guidance”), and the
20
            settlement analysis and approval principles set forth in Ninth Circuit case law;
21
        3. Whether the Court should enter judgment of dismissal of Plaintiffs’ and Settlement Class
22
            Members claims against Defendant.
23
24
25
26
27
28

     FINAL APPROVAL BRIEF                                                                 5:10-CV-4809-EJD
 1 I.        INTRODUCTION ..................................................................................................................... 1

 2 II.            FACTUAL BACKGROUND ................................................................................................ 1

 3      A.        Litigation and Settlement History ...................................................................................... 1

 4      B.        Status Report on Notice and Claims Process .................................................................... 1

 5      C.        Notice Program Satisfies Due Process................................................................................ 2

 6      D.        Class Response ..................................................................................................................... 2

 7 III.           ARGUMENT ......................................................................................................................... 3

 8      A.        The Settlement Between the Parties Should Be Approved. ............................................. 3

 9           1.        The law favors voluntary dispute resolution, but provides no presumption of fairness. ... 3

10           2.        The Ninth Circuit factors to assess whether a settlement is fundamentally fair, adequate,

11           and reasonable favor settlement for the Parties. ........................................................................ 5

12                a.     The strength of Plaintiffs’ case favors settlement. ......................................................... 5

13                b.     The risk, expense, complexity, and likely duration of further litigation favors

14                settlement. .............................................................................................................................. 6

15                c.     The risk of maintaining class action status throughout the trial favors final approval of

16                the Settlement......................................................................................................................... 7

17                d.     The amount offered in the Settlement is the best means of providing a benefit to the

18                Class. ...................................................................................................................................... 8

19                e.     Class Counsel have engaged in extensive motion practice and extensively negotiated

20                the terms of the Settlement. ................................................................................................. 10

21                f.     Class Counsel have abundant experience and their opinion favoring settlement should

22                be affirmed by this Court. .................................................................................................... 10

23                g.     No government official has objected to the Settlement after receiving notice. ........... 11

24                h.     The reaction of the Class members to the Settlement favors final approval................ 11

25                i.     Given the absence of any signs of collusion, the Settlement is appropriate for final

26                approval................................................................................................................................ 13

27      B.        The Class Notice Comports with Due Process and Rule 23. .......................................... 14

28 IV.            CONCLUSION.................................................................................................................... 16

     FINAL APPROVAL BRIEF                                                                                                                5:10-CV-4809-EJD
                                                                                   i
 1                                                         TABLE OF AUTHORITIES

 2 CASES
 3 Barbosa v. Cargill Meat Solutions Corp., 297 F.R.D. 431 (E.D. Cal. 2013) .................................. 10

 4 Bellows v. NCO Fin. Sys., Inc., 2008 WL 4155361 (S.D. Cal. Sept. 5, 2008) .................................. 9
 5 Byrd v. Civil Serv. Comm’n., 459 U.S. 1217 (1983).......................................................................... 4
 6 Chun-Hoon v. McKee Foods Corp., 716 F. Supp. 2d 848, 852 (N.D. Cal. 2010) ........................... 11
 7 Churchill Village, LLC v. Gen. Elec., 361 F.3d 566 (9th Cir. 2004) ......................................... 3, 4, 5
 8 Class Plaintiffs v. City of Seattle, 955 F.2d 1268 (9th Cir. 1992) ..................................................... 3

 9 Dennings v. Clearwire Corp., 2013 WL 185797 (W.D. Wash. May 3, 2013), aff’d (Sept. 9, 2013) 9
10 Fleming v. Impax Labs Inc., No. 16-cv-06557-HSG, 2022 WL 2789496 (N.D. Cal. July 15, 2022)
11       ........................................................................................................................................................ 2

12 Four in One Co., Inc. v. S.K. Foods, L.P., 2014 WL 28808 (E.D. Cal. Jan. 2, 2014) ..................... 15
13 Garner v. State Farm Mut. Auto Ins. Co., 2010 WL 1687832 (N.D. Cal. Apr. 22, 2010) ............ 4, 5
14 Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147 (1982) ........................................................................ 7
15 Girsh v. Jepson, 521 F.2d 153 (3d Cir. 1975).................................................................................. 10
16 Greko v. Diesel U.S.A., Inc., 2013 WL 1789602 (N.D. Cal. Apr. 26, 2013) ..................................... 7
17 Hanlon v. Chrysler Corp., 150 F.3d 1011 (9th Cir. 1988) .................................................... 4, 13, 15
18 In re Bluetooth Headset Prod. Liab. Litig., 654 F.3d 935 (9th Cir. 2011) ........................................ 4
19 In re Coordinated Pretrial Proceedings in Petroleum Products Antitrust Litig., 109 F.3d 602 (9th
20       Cir. 1997) ..................................................................................................................................... 14

21 In re Google Buzz Privacy Litig., 2011 WL 7460099 (N.D. Cal. June 2, 2011) ............................... 8
22 In re HP Laser Printer Litig., 2011 WL 3861703 (C.D. Cal. Aug. 31, 2011) ............................ 7, 13
23 In re LinkedIn User Priv. Litig., 309 F.R.D. 573 (N.D. Cal. Sept. 15, 2015).................................... 2
24 In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454 (9th Cir. 2000) ................................................. 5, 10
25 In re Netflix Privacy Litig., 2013 WL 1120801 (March 18, 2013) .................................................... 8
26 In re OmniVision Tech, Inc., 559 F. Supp. 2d 1036 (N.D. Cal. 2008) ........................................ 4, 10
27 In re TikTok Consumer Privacy Litig., 565 F. Supp. 3d 1076 (N.D. Ill. Sept. 30, 2021) .................. 3
28 In re Zynga Privacy Litig., 750 F.3d 1098 (9th Cir. 2014) ................................................................ 6

      FINAL APPROVAL BRIEF                                                                                                                 5:10-CV-4809-EJD
                                                                                   ii
 1 LaGarde v. Support.com, Inc., 2013 WL 1994703 (N.D. Cal. May 13, 2013) ........................... 9, 11
 2 Laguna v. Coverall N. Am., Inc., 2014 WL 2465049 (9th Cir. June 3, 2014) ................................. 13
 3 Lane v. Facebook, Inc., 696 F.3d 811 (9th Cir. 2012) ................................................................... 7, 8

 4 Mandujano v. Basic Vegetable Prods. Inc., 541 F.2d 832 (9th Cir. 1976) ...................................... 11
 5 Molski v. Gleichi, 318 F.3d 937 (9th Cir. 2003), overruled on other grounds by Dukes v. Wal-Mart
 6       Stores, Inc., 603 F.3d 571 (9th Cir. 2010) ..................................................................................... 5

 7 Mora v. Harley-Davidson Credit Corp., 2014 WL 29743 (E.D. Cal. Jan. 3, 2014).......................... 6
 8 Nat’l Rural Telecomms. Coop. v. DIRECTV, Inc., 221 F.R.D. 523 (C.D. Cal. Jan. 5, 2004) . 2, 3, 11

 9 Officers for Justice v. Civil Srv. Comm’n, 688 F.2d 615 (9th Cir. 1982) ............................ 3, 4, 5, 13
10 Pierce v. Rosetta Stone, Ltd., 2013 WL 5402120 (N.D. Cal. Sept. 26, 2013) ................................... 4
11 Pollard v. Remington Arms Co., LLC, 320 F.R.D. 198 (W.D. Mo. Mar. 14, 2017) .......................... 3
12 Powers v. Eichen, 229 F.3d 1249 (9th Cir. 2000)............................................................................ 13
13 Rahman v. Gate Gourmet, Inc., 2021 WL 5973046 (N.D. Cal. Nov. 22, 2021) ............................... 4
14 Rodriguez v. West Publishing Corp., 563 F.3d 948 (9th. Cir. 2009) ................................... 5, 6, 7, 10
15 Thieriot v. Celtic Ins. Co., 2011 WL 1522385 (N.D. Cal. April 21, 2011) ....................................... 6
16 Tijero v. Aaron Bros., Inc., 2013 WL 6700102 (N.D. Cal. Dec. 19, 2013) ..................................... 10
17 Van Bronkhorst v. Safeco Corp., 529 F.2d 943 (9th Cir. 1976) .................................................... 3, 4
18 Vasquez v. Coast Valley Roofing, Inc., 670 F. Supp. 2d 1114 (E.D. Cal. 2009) ............................. 15
19 Vincent v. Reser, 2013 WL 621865 (N.D. Cal. Feb. 19, 2013) ....................................................... 14
20 Vizcaino v. Microsoft Corp., 290 F.3d 1043 (9th Cir. 2002) ........................................................... 14
21 OTHER AUTHORITIES
22 2d Expert Decl. Prof. William B. Rubenstein, In re Facebook, ECF 517-2...................................... 3
23 Manual for Complex Litig. (4th) § 21.61 (2004) ............................................................................... 4
24
25
26
27
28

      FINAL APPROVAL BRIEF                                                                                             5:10-CV-4809-EJD
                                                                       iii
 1 I.       INTRODUCTION

 2          The proposed Settlement is a successful outcome for the Class, which provides a non-

 3 reversionary settlement fund of $23 million and permanent changes to the way Defendant Google

 4 Inc. (“Google”) informs users as to when and under what circumstances the content of users’
 5 search queries and web histories are disclosed to third parties. These disclosures represent a
 6 critical and long overdue transition to informed consent between Google and its users. Notably,
 7 Google has never agreed to make these crucial disclosures in the absence of litigation.
 8          The details of the Settlement, the litigation history, settlement history, and Plaintiffs’ and

 9 Class Counsels’ efforts for this 13-year-old case are described in detail in Plaintiffs’ motion for
10 preliminary approval (ECF 165) and motion for attorneys’ fees (ECF 181).
11          Thus far, over 2.5 million claims have been received, 2,530 opt-outs, and only two

12 objections. In a Settlement class of nearly 200 million individuals, this is an excellent response to
13 the Settlement, and each Class Member will receive approximately $7.16. In addition, there are no
14 “red flags:” no disproportionate attorneys’ fees being requested; no “clear sailing” provisions; and
15 most importantly, the settlement fund is non-reversionary. Furthermore, approval of the
16 Settlement is not conditioned to approval of any award of attorneys’ fees. Finally, the releases
17 required of Settlement Class members are not overbroad, but rather reach only the claims that
18 were or could have been brought in this case. Because this Settlement is demonstrably fair,
19 reasonable, and adequate, Plaintiffs respectfully request that this Court enter final approval of this
20 Settlement.
21 II.      FACTUAL BACKGROUND

22          A.      Litigation and Settlement History

23          Plaintiffs incorporate by reference the Litigation History (pp. 1–4) and Summary of

24 Settlement Terms (pp. 4–6) from their motion for preliminary approval.
25          B.      Status Report on Notice and Claims Process

26          Class members have filed 2,562,154 web claims and 2,528 paper claims for a total of

27
28

     FINAL APPROVAL BRIEF                                                                   5:10-CV-4809-EJD
                                                       1
 1 2,564,682 claims.1 (Finegan Decl. ¶ 30.) This represents a claims rate of approx. 1.33%. (Id.) In a
 2 consumer privacy case with 193 million Class members, that is a very good claims rate. Eligible
 3 Class members have also filed 2,530 opt-outs, which amounts to an opt-out rate of just .0013%.

 4 (Id. at ¶ 33.) Finally, only 2 objections were received out of a class of 193 million. (Id.) These
 5 results are excellent for a consumer case of this size and nature, and demonstrate that the claims
 6 process worked smoothly for the Class.
 7             C.     Notice Program Satisfies Due Process

 8             The Notice Plan exceeded expectations in terms of reach. The Notice Plan was designed to

 9 reach 76% of the Class, but the actual reach was 83%—well in excess of the designed reach and
10 the FJC guidelines. (Id. at ¶ 4.) In total, the Notice Plan served over 600 million impressions. (Id.)
11 As of August 2, 2023, over 5 million users have visited the settlement website. (Id. at ¶ 26.) In
12 addition, toll-free number has received 4,127132 calls. (Id. at ¶ 27.) The Notice program more
13 than satisfied due process.
14             D.     Class Response

15             The Class’s response thus far has been very positive and strongly supports final approval.

16 See Fleming v. Impax Labs Inc., No. 16-cv-06557-HSG, 2022 WL 2789496, at *7 (N.D. Cal. July
17 15, 2022) (“‘[t]he absence of a large number of objections to a proposed class action settlement
18 raises a strong presumption that the terms of a proposed class settlement are favorable to the class
19 members.’” (quoting Nat’l Rural Telecomms. Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 528–29
20 (C.D. Cal. Jan. 5, 2004), and citing In re LinkedIn User Priv. Litig., 309 F.R.D. 573, 589 (N.D.
21 Cal. Sept. 15, 2015), for proposition “‘[a] low number of opt-outs and objections in comparison to
22 class size is typically a factor that supports settlement approval.’”). Only two objections have been
23 received, and the number of opt-outs represents a mere .0013% of the total Settlement class.
24 (Finegan Decl. ¶ 33.)
25             To date, 2,564,682 claims have been filed for a claims rate of approximately 1.33%. (Id. at

26 ¶ 30.) This number is in line with expectations—or even slightly better than expectations—for a
27
28   1
         The number of claims is subject to slight revision during the normal course of claims vetting.

     FINAL APPROVAL BRIEF                                                                   5:10-CV-4809-EJD
                                                        2
 1 Settlement class this numerous (approx. 193 million persons). See In re TikTok Consumer Privacy
 2 Litig., 565 F. Supp. 3d 1076, 1090 n.6 (N.D. Ill. Sept. 30, 2021) (“[a]ccording to the plaintiff’s
 3 expert in In re Facebook, the average claims rate for classes above 2.7 million class members is

 4 less than 1.5% (citing 2d Expert Decl. Prof. William B. Rubenstein ¶ 5, In re Facebook, ECF 517-
 5 2, and also citing, inter alia, Pollard v. Remington Arms Co., LLC, 320 F.R.D. 198, 214–15 (W.D.
 6 Mo. Mar. 14, 2017), as “collecting cases that have approved settlements ‘where the claims rate
 7 was less than one percent’”).
 8 III.     ARGUMENT

 9          The Settlement Agreement, reached by the Parties after arms’-length negotiations, provides

10 immediate relief to the Class in the form of direct payments and permanent, prospective relief
11 designed to inform Google search users about their rights to privacy and Google’s use of search
12 query information. Because the methods of notice to Class Members and the Agreement itself are
13 appropriate, Plaintiffs request that this Court enter final approval of the Settlement.
14          A.      The Settlement Between the Parties Should Be Approved.

15          The Settlement Agreement, mutually agreed upon by the Parties, is ripe for final approval.

16 Plaintiffs request that this Court grant final approval to the Settlement because the law favors the
17 voluntary settlement of disputes. Moreover, the Settlement is a fair and reasonable outcome based
18 upon the Churchill factors, outlined below. Churchill Village, LLC v. Gen. Elec., 361 F.3d 566,
19 575 (9th Cir. 2004).
20                  1.      The law favors voluntary dispute resolution, but provides no presumption

21                          of fairness.

22          The law strongly favors parties voluntarily resolving their disputes. “Unless the settlement

23 is clearly inadequate, its acceptance and approval are preferable to lengthy and expensive litigation
24 with uncertain results.” Nat’l Rural Telecomms. Coop., 221 F.R.D. at 526. Settlements avoid the
25 time, cost, and inconvenience of complex litigation. See Class Plaintiffs v. City of Seattle, 955
26 F.2d 1268, 1276 (9th Cir. 1992); Officers for Justice v. Civil Srv. Comm’n, 688 F.2d 615, 625 (9th
27 Cir. 1982); Van Bronkhorst v. Safeco Corp., 529 F.2d 943, 950 (9th Cir. 1976). This is
28 “particularly true in class action suits which are now an ever increasing burden to so many federal

     FINAL APPROVAL BRIEF                                                                    5:10-CV-4809-EJD
                                                       3
 1 courts.” Van Bronkhorst, 529 F.2d at 950. Settling such complex cases relieves a heavy burden on
 2 otherwise strained judicial resources and serves the interests of justice more efficiently. See e.g.
 3 Byrd v. Civil Serv. Comm’n., 459 U.S. 1217 (1983); Churchill Village, 361 F.3d at 576.

 4          Nonetheless, strong judicial scrutiny of class action settlements is required of a pre-

 5 certification settlement, like this one. See, e.g., Rahman v. Gate Gourmet, Inc., 2021 WL 5973046,
 6 at *4 (N.D. Cal. Nov. 22, 2021) (citing In re Bluetooth Headset Prod. Liab. Litig., 654 F.3d 935,
 7 946–47 (9th Cir. 2011)). Plaintiffs do not suggest, and the Court should not apply, any
 8 “presumption of fairness” to this proposed Settlement. Under Federal Rule of Civil Procedure

 9 23(e), the court must approve any settlement, voluntary dismissal, or compromise of the claims,
10 issues, or defenses of a certified class. The court may only approve a settlement “after a hearing
11 and on finding that [the settlement] is fair, reasonable, and adequate.” Id.; see In re OmniVision
12 Tech, Inc., 559 F. Supp. 2d 1036, 1040 (N.D. Cal. 2008). A settlement is fair, reasonable, and
13 adequate where, as here, “the interests of the class are better served by the settlement than by
14 further litigation.” Garner v. State Farm Mut. Auto Ins. Co., 2010 WL 1687832 at *8 (N.D. Cal.
15 Apr. 22, 2010) (quoting Manual for Complex Litig. (4th) § 21.61 (2004)).
16          While “the decision to approve or reject a settlement [under Rule 23(e)] is committed to

17 the sound discretion of the trial [j]udge[,]” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th
18 Cir. 1988), the Court should nonetheless limit its inquiry to a determination “that the agreement is
19 not the product of fraud or overreaching by, or collusion between, the negotiating parties, and that
20 the settlement taken as a whole, is fair, reasonable, and adequate to all concerned.” Officers for
21 Justice, 688 F.2d at 625. See also Pierce v. Rosetta Stone, Ltd., 2013 WL 5402120 at *5 (N.D.
22 Cal. Sept. 26, 2013).
23          Here, the Settlement Agreement is fair, adequate, and reasonable. Not only was the

24 Settlement Agreement the product of adversarial negotiation, it was achieved by way of a
25 mediator’s proposal following arms-length negotiation with Magistrate Judge Kim serving as the
26 mediator. (Asch. Decl., ECF 181-1, ¶¶ 6, 25, 28, 30). As the litigation and settlement history in
27 this case demonstrate, there is no concern of collusion between the parties.
28

     FINAL APPROVAL BRIEF                                                                  5:10-CV-4809-EJD
                                                       4
 1                   2.      The Ninth Circuit factors to assess whether a settlement is fundamentally

 2                           fair, adequate, and reasonable favor settlement for the Parties.

 3           To assess whether a class action settlement is fair, adequate, and reasonable, courts in the

 4 Ninth Circuit generally consider the following non-exhaustive list of factors:
 5           “(1) the strength of the plaintiff’s case; (2) the risk, expense, complexity, and likely
             duration of further litigation; (3) the risk of maintaining class action status
 6           throughout the trial; (4) the amount offered in the settlement; (5) the extent of
             discovery completed and the stage of the proceedings; (6) the experience and view
 7           of counsel; (7) the presence of a governmental participant; and (8) the reaction of
             the class members to the proposed settlement.”
 8
     Churchill Village 361 F.3d at 575 (9th Cir. 2004); see also Rodriguez v. West Publishing Corp.,
 9
     563 F.3d 948, 963 (9th. Cir. 2009) (quoting Molski v. Gleichi, 318 F.3d 937, 953 (9th Cir. 2003),
10
     overruled on other grounds by Dukes v. Wal-Mart Stores, Inc., 603 F.3d 571 (9th Cir. 2010)); In
11
     re Mego Fin. Corp. Sec. Litig., 213 F.3d 454, 458 (9th Cir. 2000).
12
             Applying these factors to the proposed Settlement Agreement, each factor favors final
13
     approval.
14
                             a.      The strength of Plaintiffs’ case favors settlement.
15
             The first step in assessing the fairness of a class action settlement is to examine the
16
     strength of the plaintiff’s case. The Court’s analysis of this first factor is not rigid or beholden to
17
     any “particular formula by which the outcome must be tested,” nor is the Court meant to “reach
18
     any ultimate conclusions of the contested issues of fact and law which underlie the merits of the
19
     dispute, for it is the very uncertainty of outcome in litigation and avoidance of wasteful and
20
     expensive litigation that induce consensual settlements.” Garner, 2010 WL 1687832 at *9
21
     (quoting Rodriguez, 563 F.3d at 965). “Rather, the Court’s assessment of the likelihood of success
22
     is ‘nothing more than an ‘amalgam of delicate balancing, gross approximations and rough
23
     justice.’” Garner, 2010 WL 1687832 at *9 (citing Officers for Justice, 688 F.2d at 625).
24
             While Plaintiffs are confident in the strength of their claims and their ability to ultimately
25
     prevail at trial, Plaintiffs are also cognizant that litigation is inherently risky. (ECF 181-1, ¶ 36.)
26
     That is even more so where Defendant may raise credible substantive and/or procedural defenses
27
     to the Class’s claims, including express defenses under the SCA. These potential defenses make
28

     FINAL APPROVAL BRIEF                                                                      5:10-CV-4809-EJD
                                                         5
 1 this Settlement all the more reasonable. (ECF 181-1, ¶ 37). Cf. Rodriguez 563 F.3d at 964
 2 (defendants’ substantive and procedural defense to the class’s claims favored final approval of
 3 class settlement agreement).

 4          Proceeding to trial would carry significant risks, including the danger that a jury might not

 5 properly grasp the technical concepts implicated by Plaintiffs’ claims, or that key expert testimony
 6 might be excluded. (See ECF 181-1, ¶ 36). Moreover, at the time Plaintiffs filed this action, some
 7 of Plaintiffs’ allegations and legal theories were matters of first impression within the Ninth
 8 Circuit. Since then, the Ninth Circuit held in In re Zynga Privacy Litig., 750 F.3d 1098 (9th Cir.

 9 2014), that the plaintiffs’ claims under the SCA against defendants for using plaintiffs’ personal
10 information were not actionable. The In re Zynga SCA allegations are substantially similar to the
11 SCA allegations proffered by Plaintiffs here, and thus put the viability of some of Plaintiffs’
12 claims at risk.
13          Even a verdict in Plaintiffs’ favor would bring additional challenges. Calculation of actual

14 damages suffered by Class Members would be inordinately difficult, while a full award of
15 statutory damages might reach into the trillions of dollars, a sum that would far exceed the value
16 of Google. Google would then be inclined to seek remittitur, on constitutional due process
17 grounds, again multiplying the risk to the Class.
18          Viewed against this backdrop, Plaintiffs justifiably accepted the Settlement, which offers

19 an immediate and certain award for the Class.
20                          b.     The risk, expense, complexity, and likely duration of further

21                                 litigation favors settlement.

22          When a party continues to deny liability, there is an inherent risk in continuing litigation.

23 In Thieriot v. Celtic Ins. Co., 2011 WL 1522385 at *5 (N.D. Cal. April 21, 2011), the district court
24 approved a settlement agreement in which the defendant specifically denied liability, noting that
25 such denial of liability posed a risk to continued litigation. See also Mora v. Harley-Davidson
26 Credit Corp., 2014 WL 29743 at *4 (E.D. Cal. Jan. 3, 2014) (granting final approval to settlement
27 agreement where defendant denied any liability). Further, the court acknowledged that “even with
28 a strong case, litigation entails expense.” See Greko v. Diesel U.S.A., Inc., 2013 WL 1789602 at *4

     FINAL APPROVAL BRIEF                                                                   5:10-CV-4809-EJD
                                                       6
 1 (N.D. Cal. Apr. 26, 2013).
 2          Similarly here, the terms of the Proposed Settlement include Defendant’s absolute denial

 3 of any liability. (ECF 165-10.) Defendant has also vigorously litigated this case, filing four

 4 separate Motions to Dismiss in response to Plaintiffs’ original complaints and subsequent
 5 amended complaints. Defendant’s absolute denial of liability, paired with its concerted efforts to
 6 dismiss this case, favor granting final approval to the proposed Settlement Agreement. Otherwise,
 7 the Class is certain to face significant procedural hurdles, including anticipated motions for
 8 summary judgment, class certification, and possible appeals. Rodriguez, 563 F.3d at 966.

 9          The degree of complex issues or facts facing the parties also favors settlement. See e.g.

10 Lane v. Facebook, Inc., 696 F.3d 811, 820 (9th Cir. 2012). Here, Plaintiffs allege Google violated
11 both the SCA and California state laws. (ECF 50.) Moreover, the use of referrer headers is a
12 highly technical, complex area of the law. This complexity, in conjunction with the now
13 challenged viability of some of Plaintiffs’ claims (as shown in the results in the Zynga case),
14 counsels in favor of a certain and immediate settlement.
15                          c.     The risk of maintaining class action status throughout the trial

16                                 favors final approval of the Settlement.

17          This factor also favors final approval. This factor is satisfied where a Court grants

18 preliminary approval to a class certification for settlement purposes, and no developments occur
19 between preliminary approval and final approval that warrant reexamining the certification. See In
20 re HP Laser Printer Litig., 2011 WL 3861703, at *2 (C.D. Cal. Aug. 31, 2011) (finding that where
21 the court previously granted plaintiffs’ request to certify class for purposes of settlement, and
22 where nothing changed since granting preliminary approval, final approval was appropriate.)
23 Moreover, a district court has the ability to decertify a class at any time. Gen. Tel. Co. of Sw. v.
24 Falcon, 457 U.S. 147, 160 (1982) (“Even after a certification order is entered, the judge remains
25 free to modify it in light of subsequent developments in the litigation.”).
26          Here, the Court approved class certification for purposes of settlement only. (ECF 177.) As

27 in In re HP Laser Printer Litig., there have not been any substantive changes to this Class’s
28 satisfaction of the numerosity, commonality, typicality, or adequacy of representation elements

     FINAL APPROVAL BRIEF                                                                  5:10-CV-4809-EJD
                                                       7
 1 pursuant to Fed. R. Civ. P. 23. As such, the Court need not reexamine its certification of this Class
 2 for settlement purposes.
 3          Although Plaintiffs and Class Counsel believe they would be successful in obtaining

 4 certification of an adversarial class absent the Settlement, Google has made it clear that it would
 5 vigorously oppose class certification. (ECF 181-1, ¶ 36). As discussed in above, Defendant has
 6 forcefully litigated this matter, filing four separate Motions to Dismiss in an effort to terminate
 7 Plaintiffs’ case. Plaintiffs have no doubt that Defendant will continue to litigate this case
 8 vigorously, should this Court decline to grant final approval to the Settlement Agreement, and

 9 Defendant will certainly contest class certification. Thus, the current Settlement is the best means
10 of providing a benefit to the Class.
11                          d.     The amount offered in the Settlement is the best means of providing

12                                 a benefit to the Class.

13          This Settlement contemplates both monetary relief ($23 million distributed pro rata via a

14 Common Fund) and prospective relief (via Google’s Agreed-Upon Disclosures). (ECF 165-10.) In
15 combination, the terms of this Settlement provide the best means of conveying a benefit to the
16 Class that directly addresses the substance of Plaintiffs’ complaint: protecting consumers’ privacy
17 online and informing consumers of their rights.
18                                 i.      The $23 million Settlement Fund compares favorably to

19                                         other similar consumer privacy settlements.

20          The size of the recovery obtained by Class Counsel ($23 million) also strongly supports

21 final approval. (ECF 165-10.) The substantial monetary value with direct payments to Class
22 members in the amount of approx. $7.16 compares favorably to settlements in other Internet
23 consumer privacy class action settlements that were cy pres only. See, e.g. In re Google Buzz
24 Privacy Litig., 2011 WL 7460099, at *3-4 (N.D. Cal. June 2, 2011) (unauthorized disclosure of
25 email contact lists; $8.5 million settlement fund with cy pres payments); Lane, 696 F.3d at 818
26 (unauthorized disclosure of personal information; cy pres distribution of $9.5 million); and in In re
27 Netflix Privacy Litig., 2013 WL 1120801 at *6 (March 18, 2013) (unauthorized storage of
28 personal information; cy pres distribution of $9 million).

     FINAL APPROVAL BRIEF                                                                  5:10-CV-4809-EJD
                                                       8
 1                                ii.     Google’s disclosures are appropriate prospective relief for

 2                                        the Class.

 3          Noneconomic, prospective relief is appropriate where it provides a remedy to the

 4 violations alleged in a class action. See Dennings v. Clearwire Corp., 2013 WL 185797 (W.D.
 5 Wash. May 3, 2013), aff’d (Sept. 9, 2013) (granting final approval where settlement provided non-
 6 monetary, programmatic relief to class members regarding defendant’s deceptive advertising);
 7 Bellows v. NCO Fin. Sys., Inc., 2008 WL 4155361, at *9 (S.D. Cal. Sept. 5, 2008) (holding that
 8 injunction requiring defendant to implement company-wide training program to prevent collectors

 9 from making unwanted calls was appropriate settlement relief); LaGarde v. Support.com, Inc.,
10 2013 WL 1994703 (N.D. Cal. May 13, 2013) (granting final approval to settlement with terms
11 proscribing noneconomic relief directing the defendant to create documentation for its product that
12 more clearly and concisely described terms) .
13          In addition to the monetary award, this Settlement also contemplates non-monetary,

14 permanent prospective relief.2 Specifically, Defendant agrees to make certain “Agreed-Upon
15 Disclosures” concerning search queries. Defendant will post these disclosures on Google’s
16 “FAQs” webpage, “Key Terms” webpage, and “Privacy FAQ for Google Web History” webpage.
17 (ECF 165-10.) These disclosures alert Google users to the ways in which their personal
18 information or Google search web history could be used or compromised via referrer headers.3
19 This permanent prospective relief weighs favorably as a factor toward granting final approval of
20 this Settlement.
21
22   2
       Although the prospective relief is valuable, Class Counsel has not placed a specific monetary
     value on that relief.
23   3
       For example, on Google’s Privacy FAQ webpage, www.google.com/policies/privacy/faq,
     Defendant now discloses as part of the Settlement that “When you click on a search result in
24   Google Search, your web browser also may send the Internet address, or URL, of the search
     results page to the destination webpage as the Referrer URL. The URL of the search results page
25   may sometimes contain the search query you entered. If you are using SSL Search (Google’s
     encrypted search functionality), under most circumstances, your search terms will not be sent as
26   part of the URL in the Referrer URL. There are some exceptions to this behavior, such as if you
     are using some less popular browsers. More information on SSL Search can be found here. Search
27   queries or information contained in the Referrer URL may be available via Google Analytics or an
     application programming interface (API). In addition, advertisers may receive information relating
28   to the exact keywords that triggered an ad click.”

     FINAL APPROVAL BRIEF                                                               5:10-CV-4809-EJD
                                                       9
 1                          e.     Class Counsel have engaged in extensive motion practice and

 2                                 extensively negotiated the terms of the Settlement.

 3          The fifth Churchill factor requires the Court to consider both the extent of the discovery

 4 conducted to date and the stage of the litigation as indicators of class counsel’s familiarity with the
 5 case and ability to make informed decisions. OmniVision, 559 F. Supp. 2d at 1042 (citing In re
 6 Mego Fin. Corp., 213 F.3d at 459).
 7          Final approval is appropriate here because Class Counsel have engaged in extensive

 8 motion practice and document exchange. Plaintiffs have fully briefed, argued, and opposed four

 9 motions to dismiss. Furthermore, this Settlement is the product of arms’-length, serious, and
10 extensive discussion amongst the Parties. Cf. In re Mego Fin. Corp. Sec. Litig., 213 F.3d at 459;
11 Rodriguez, 563 F.3d at 963; Girsh v. Jepson, 521 F.2d 153, 157 (3d Cir. 1975); Barbosa v. Cargill
12 Meat Solutions Corp., 297 F.R.D. 431, 445 (E.D. Cal. 2013). See also Tijero v. Aaron Bros., Inc.,
13 2013 WL 6700102, at *7 (N.D. Cal. Dec. 19, 2013) (where settlement reached after parties
14 participated in private mediation, settlement was appropriate for final approval).
15          As detailed in their motions for preliminary approval and for attorneys’ fees, Plaintiffs

16 extensively negotiated this settlement with the necessary aid of Mag. Judge Kim over an extended
17 period of time.
18          Settlement discussions were taken seriously by all Parties, and this Agreement is the result

19 of months of arms’-length negotiation. Therefore, this factor favors final approval.
20          Further, these negotiations occurred after multiple rounds of written discovery, thus

21 enabling Class Counsel to make informed decisions in regard to settlement.
22                          f.     Class Counsel have abundant experience and their opinion favoring

23                                 settlement should be affirmed by this Court.

24          Class Counsel have regularly engaged in major complex litigation and have extensive

25 experience in consumer class action lawsuits that are similar in size, scope, and complexity to the
26 present case. (See Firm Resumes filed with Plaintiffs’ Fee Motion.) In light of these credentials
27 and the experience of Class Counsel, this Court should award final approval to the settlement.
28

     FINAL APPROVAL BRIEF                                                                 5:10-CV-4809-EJD
                                                      10
 1                          g.     No government official has objected to the Settlement after receiving

 2                                 notice.

 3          “Although CAFA does not create an affirmative duty for either the state or federal officials

 4 to take any action in response to a class action settlement, CAFA presumes that, once put on
 5 notice, state or federal officials will raise any concerns that they may have during the normal
 6 course of the class action settlement procedures.” LaGarde, 2013 WL 1283325 at *7.
 7          Here, the Parties directed the Class Administrator to comply with CAFA’s notice

 8 requirement and the Class Administrator provided the appropriate notice on January 13, 2023.

 9 (Finegan Decl. ¶ 25.) A copy of the CAFA notice substantially similar to the notice sent is
10 attached to the Declaration of the Class Administrator. To date, no state or federal officials have
11 raised any objection to the Settlement. Therefore, this factor favors final approval of the
12 Settlement.
13                          h.     The reaction of the Class members to the Settlement favors final

14                                 approval.

15          Courts in the Ninth Circuit consider the number of class members who object to a

16 proposed settlement when determining whether to grant final approval to a settlement agreement.
17 Mandujano v. Basic Vegetable Prods. Inc., 541 F.2d 832, 837 (9th Cir. 1976). Where the vast
18 majority of class members have not objected to the terms of a proposed settlement, this factor
19 weighs in favor of the court granting final approval. Nat’l Rural Telecomms. Coop., 221 F.R.D. at
20 526 (holding that “in the absence of a large number of objections to a proposed class action
21 settlement, settlement actions are favorable to the class members.”).
22          The Class Administrator received only two timely objections (and zero untimely

23 objections) to the Settlement. (Finegan Decl., ¶ 33.) This strongly indicates a favorable class
24 reaction, especially in a class of nearly 200 million individuals. See Chun-Hoon v. McKee Foods
25 Corp., 716 F. Supp. 2d 848, 852 (N.D. Cal. 2010) (approving settlement where no objections
26 raised to settlement).
27          Where exclusions and opt-outs are low, there is also a presumption of a favorable class

28 reaction. Id. at 850 (granting final approval where sixteen out of 329 class members excluded

     FINAL APPROVAL BRIEF                                                                 5:10-CV-4809-EJD
                                                      11
 1 themselves from the settlement (4.9% opt-out rate)).
 2          Here, the exclusion period has passed, and the total number of exclusions pales in

 3 comparison to the number of Class Members who have opted to remain within the class. The Class

 4 Administrator received only 2,530 exclusion forms by the opt-out deadline of July 31, 2023.
 5 (Finegan Decl. ¶ 33.) This minimal number of exclusions—representing approximately 0.0013%
 6 of the Class—paired with only two objections, demonstrates a favorable class reaction.
 7          Adams Objection (Objection 1/2)

 8          Objector Boyd Adams filed a written objection (ECF 180) on the basis that he thinks

 9 Google should not be able “to share anything [he does],” that Google must admit wrongdoing, that
10 no one should be able to opt out, and that the value of the Settlement is too small. Mr. Adams
11 closes his objection with his view that no one should be able to sue Google for this offense again.
12 Mr. Adams did file a claim, despite his objections to the Settlement. Mr. Adams indicated he does
13 not plan to appear at the Final Fairness Hearing.
14          Weiler Objection (Objection 2/2)

15          Objector Clifford Weiler filed a written objection (ECF 185) on the basis that there were

16 too many “hoops” to jump through to make a claim—to the degree that it would dissuade most
17 people from making claims, and that the value of the Settlement was too small. Mr. Weiler’s
18 objections are belied by the facts: over 2.5 million individuals filed claims, thus indicating that
19 there were not too many “hoops” for Claimants and that the value of the Settlement was not too
20 low. Mr. Weiler also does not describe the so-called “hoops” or explain how any part of the claims
21 process could have been improved. Moreover, Mr. Weiler successfully filed a claim, so it was
22 apparently not too difficult or de minimis for him to submit a claim. Finally, Mr. Weiler mentions
23 that he searched with Microsoft, not Google. If true and not a typo, Mr. Weiler is potentially not
24 even a Class member. Mr. Weiler did not indicate whether he plans to appear at the Final Fairness
25 Hearing.
26          Plaintiffs respect the Objectors’ right to state their positions, but do not find their

27 objections warrant any changes to the Settlement.
28

     FINAL APPROVAL BRIEF                                                                     5:10-CV-4809-EJD
                                                        12
 1                          i.     Given the absence of any signs of collusion, the Settlement is

 2                                 appropriate for final approval.

 3          Because collusion is not always evident on the face of a settlement, the Court may be

 4 required to look to these signs for evidence that counsel have pursued their own interests at the
 5 cost of the interests of the class. Officers for Justice, 688 F.2d at 625. The Ninth Circuit has
 6 instructed courts to carefully scrutinize cases that are settled without adversarial certification for
 7 possible collusion. Hanlon, 150 F.3d at 1026. In particular, courts are to be aware of certain signs
 8 that warrant heightened scrutiny of the negotiation process, including: (1) where class counsel

 9 receives a disproportionate distribution of the settlement or when the class receives no monetary
10 distribution; (2) where unawarded attorneys’ fees revert to defendants rather than the settlement
11 fund for the class; and (3) where there is a “clear sailing” fee arrangement. Laguna v. Coverall N.
12 Am., Inc., 2014 WL 2465049 at *5 (9th Cir. June 3, 2014).
13          Here, the Class was certified for purposes of settlement only, and therefore was not the

14 product of adversarial certification. (ECF 177.) Nonetheless, even when examined under
15 heightened scrutiny, this Settlement is wholly free of collusion. First, the terms of the Settlement
16 do not raise the concern that counsel is receiving a disproportionate distribution of the settlement.
17 Here, Class Counsel seek the Ninth Circuit’s “benchmark” twenty-five percent (25%) fee award of
18 the $23 million common fund. See Powers v. Eichen, 229 F.3d 1249, 1256 (9th Cir. 2000) (“We
19 have . . . established twenty-five percent of the recovery as a ‘benchmark’ for attorneys’ fees
20 calculations under the percentage-of-recovery approach”).
21          Second, this Settlement does not provide for payment of attorneys’ fees separate and apart

22 from funds paid to the Class. (ECF 165-10.) Rather, Class Counsel seek a percentage of the
23 common fund from which distributions will be made—and any funds not awarded in fees will
24 simply be distributed to Claimants rather than reverting to Google. (ECF 165-10, § 11.1); compare
25 In re HP Laser Printer Litigation, 2011 WL 3861703 at *4 (It is a sign of collusion “when the
26 parties arrange for fees to revert to the defendant instead of to the class fund or a cy pres fund.”).
27
28

     FINAL APPROVAL BRIEF                                                                   5:10-CV-4809-EJD
                                                       13
 1          Third, this Settlement does not contain a “clear sailing” provision.4 (ECF 165-10, § 11.1)

 2 (“Google expressly reserves the right to oppose the motion seeking a Fee, Cost, and Expense
 3 Award.”) The absence of a “clear sailing” provision supports a finding of non-collusion. In fact,

 4 the Settlement is not contingent on the Court awarding a specific fee to Class Counsel. Rather, the
 5 Parties have agreed to an overall Settlement Fund and have left the division of that fund as
 6 between the Class and Counsel to the district court, as is usual in common fund cases. (Id.); see
 7 Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1047 (9th Cir. 2002); In re Coordinated Pretrial
 8 Proceedings in Petroleum Products Antitrust Litig., 109 F.3d 602, 607 (9th Cir. 1997).

 9          Finally, although not dispositive, the presence of a mediator supports a finding of non-

10 collusion. Vincent v. Reser, 2013 WL 621865 at *4 (N.D. Cal. Feb. 19, 2013). As described supra,
11 the complete process resulting in the Settlement was done at arms’-length, by well-represented
12 parties, and under the supervision of a neutral mediator. (ECF 181-1, ¶ 6). In fact, the terms of the
13 Settlement were based upon the mediator’s proposal that Mag. Judge Kim made to the parties.
14 (ECF 181-1, ¶ 30).
15          Accordingly, the non-collusive nature of this Settlement, reached after a series of arms-

16 length negotiations and contested mediations, should dispel any concern of the signs of collusion
17 that appear in some class actions but are completely absent here.
18          B.      The Class Notice Comports with Due Process and Rule 23.

19          In order for a court to grant final approval of a class action settlement, the class must be

20 provided with notice of the settlement that complies both with the requirements of due process and
21 Federal Rule of Civil Procedure (“Rule”) 23(e)(1). Class notice satisfies these requirements where
22 the notice states in plain, easily understood language “the nature of the action; the definition of the
23 class certified; the claims, issues or defense; that a class member may enter an appearance through
24 an attorney if the member so desires; that the court will exclude from the class any member who
25 requests exclusion; the time and manner for requesting exclusion; and the binding effect of a class
26 judgment on members under Rule 23(c)(3).” Fed. R. Civ. P. 23(c)(2)(B). See also Four in One
27
   4
     A “clear sailing” provision refers to a settlement term in which a defendant agrees not to
28 challenge class counsels’ fee request up to an agreed amount.

     FINAL APPROVAL BRIEF                                                                   5:10-CV-4809-EJD
                                                       14
 1 Co., Inc. v. S.K. Foods, L.P., 2014 WL 28808 at *12-13 (E.D. Cal. Jan. 2, 2014); Hanlon, 150
 2 F.3d at 1024.
 3          Here, notice requirements have been appropriately satisfied. The Class Administrator was

 4 allocated $1.0 million to implement the Notice Plan (ECF 165-10, § 6.1), and this Court approved
 5 the Plan. (Id.) The Class Administrator used multiple media channels: (1) internet-based notice
 6 using paid banner ads targeted at potential class members; (2) Google keyword search advertising;
 7 (3) publication via Gmail ads; (4) publication via social media advertising through Facebook,
 8 Instagram, Twitter, and YouTube; (5) publication via specialty class action new websites; (6)

 9 publication in a nationally circulated print magazine; (7) a press release in English and in Spanish;
10 (8) CAFA Notice; (9) a website decided solely to the settlement; and (10) a toll-free telephone
11 number where class members can obtain additional information and request a class notice.
12 (Finegan Decl., ¶ 5.) This plan employed best-in-class tools, technology, and optimizations to
13 reach an estimated 83% of potential Settlement Class members. (Id. at ¶ 4.)
14          As a result of the Notice Plan, over 5 million unique visitors visited the Settlement

15 Website. (Id. at ¶ 26.) These visits resulted in over 2.5 million claims. (Id. at ¶ 30.) Furthermore,
16 per Rule 23, the notice language used simple, plain language regarding the nature of the lawsuit
17 and the operative complaint, the terms of the Settlement, and how a Class member could
18 participate in, object to, or be excluded from the Settlement. The Notice also provided the dates
19 and deadlines for making claims and otherwise responding to the Notice, as well informing Class
20 Members that the Settlement would be binding.
21          Notice on the Settlement Website was also supplemented with paid advertising and earned

22 media. There were 600 million views of these ads by an estimated 83% of the Settlement Class.
23 (Id. at ¶ 4.)
24          Lastly, 4,271 individuals have used the toll-free number to contact the Class Administrator.

25 (Id. at ¶ 27.)
26          The notice terms fall in line with other, similar, class action notice plans. See e.g. Vasquez

27 v. Coast Valley Roofing, Inc., 670 F. Supp. 2d 1114 (E.D. Cal. 2009) (finding proposed settlement
28 notice appropriate where it generally described the nature of the litigation, the essential terms of

     FINAL APPROVAL BRIEF                                                                  5:10-CV-4809-EJD
                                                      15
 1 the Settlement, how to make a claim, object to or comment on or elect not to participate in the
 2 settlement). Because notice to the Class complied with the Preliminary Approval Order (ECF
 3 177), Rule 23, and Due Process, it comprised the best practicable notice under the circumstances.

 4 IV.     CONCLUSION

 5         For the foregoing reasons, Plaintiffs, on behalf of the Class, respectfully request that this

 6 Court grant Plaintiffs’ Motion for Final Approval of the Class Action Settlement Agreement, and
 7 award such and further relief as the Court deems equitable and just.
 8
     Dated: August 24, 2023                       KAMBERLAW, LLC
 9
10                                                s/ Michael Aschenbrener
                                                  Michael Aschenbrener
11
12                                                ATTORNEYS FOR PLAINTIFFS
                                                  AND THE CLASS
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     FINAL APPROVAL BRIEF                                                                  5:10-CV-4809-EJD
                                                      16
 1                                    CERTIFICATE OF SERVICE

 2          The undersigned certifies that, on August 24, 2023, he caused this document to be

 3 electronically filed with the Clerk of Court using the CM/ECF system, which will send

 4 notification of filing to counsel of record for each party.
 5
 6 Dated: August 24, 2023                                  KAMBERLAW, LLC

 7
 8                                                         By: s/ Michael Aschenbrener
                                                           Michael Aschenbrener
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     FINAL APPROVAL BRIEF                                                                5:10-CV-4809-EJD
                                                      17
